Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 1 of 23




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action Number: 21-cv-01073-CMA-CPG

   THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck
   and Barbara G. Fleck,
   THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck
   and Barbara G. Fleck,
   AARON FLECK, and BARBARA G. FLECK,

         Plaintiffs,
   v.

    FIRST WESTERN TRUST BANK
    CHARLES BANTIS, and
    ANDREW GODFREY

         Defendants.


             DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 2 of 23




          Pursuant to Federal Rule of Civil Procedure 56, Defendants First Western Trust

   Bank (“FWTB”), Charles Bantis, and Andrew Godfrey move for partial summary judgment.

                                        INTRODUCTION

          Aaron Fleck and Barbara Fleck (the “Flecks”) provided FWTB $8 million to invest on

   behalf of their Trusts (the Aaron H. Fleck Revocable Trust and Barbara H. Fleck Revocable

   Trust) for less than one year. FWTB grew that money slightly during a period of market

   turbulence, and then transferred it to another bank at the Flecks’ request. The Flecks

   complain that FWTB should have made them more money. But FWTB invested in

   accordance with a detailed investment strategy that the Flecks agreed to by approving their

   Investment Policy Statement (“IPS”). For this reason and others, the Flecks’ breach of

   contract claim lacks merit. FWTB, however, acknowledges that the issue of whether it

   invested pursuant to the IPS turns on factual issues that must be resolved through trial.

          The Court can dispose of the remainder of Plaintiffs’ claims now because they fail

   as a matter of law under the undisputed evidence.

          First, Plaintiffs’ claims for fraudulent inducement and fraudulent concealment are

   lawyer-driven claims that are contradicted by evidentiary record. The Flecks themselves

   disavowed the Amended Complaint’s fraud theories in their depositions, and the record is

   clear that each alleged false statement was either (a) never made, (b) true, and/or (c) not

   relied upon by Plaintiffs. Plaintiffs’ fraudulent concealment claim similarly fails because

   FWTB disclosed the truth to the Flecks and had no duty to disclose anything further.

          Second, Plaintiffs’ claims for breach of fiduciary duty are barred by the economic

   loss rule. With discovery now complete, this argument is no longer premature. The record



                                               -1-
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 3 of 23




   evidence is now clear that Plaintiffs’ claims are exclusively governed by three detailed

   contracts: the IPS, an Investment Agreement, and a Fee Agreement. Plaintiffs complain

   that FWTB failed to follow a cohesive investment strategy, charged them undisclosed fees,

   and failed to follow Mr. Fleck’s alleged instruction to sell securities at the end of 2018 for

   tax purposes. The merits of each claim turns on FWTB’s contractual duties. Plaintiffs cannot

   identify any common law duty that is not subsumed by a more specific contractual duty.

          Third, Plaintiffs’ breach of contract claim for being charged undisclosed fees fails

   because the evidence indisputably shows that the approximately $55,000 in fees and

   $2,800 in commissions charged to the Flecks were agreed upon by the Flecks in advance.

                            STATEMENT OF UNDISPUTED FACTS

   A.     In 2017 and early 2018, FWTB introduced Aaron Fleck to its investment
          management services and provided him with a bridge loan.

          1.     Aaron Fleck worked as a portfolio manager for decades, and formed his

   own investment firm which managed hundreds of millions of dollars of assets. Ex. 1, A.

   Fleck Dep. at 11:19-12:10.

          2.     On March 10, 2017, Aaron Fleck asked Andrew Godfrey, a wealth advisor

   he knew at FWTB, to “recommend a smart honest Fund Manager with an office in Aspen.”

   Ex. 2, March 23, 2017 Email Chain.

          3.     In response to Mr. Fleck’s email, on March 23, 2017, Mr. Godfrey invited

   Mr. Fleck to discuss FWTB’s investment management services, and explained: “We are

   more than a bank and consider ourselves more like wealth managers with $5 Billion under

   management. We have an open architecture that I think could accommodate your unique

   style, combined with our Fiduciary capability, and be exactly what you are looking for.” Id.


                                               -2-
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 4 of 23




          4.     On April 26, 2017, Doug Barker, who would later become the Flecks’

   portfolio manager, emailed Mr. Fleck stating: “I look forward to learning more about your

   estate planning and wealth transfer goals and will be prepared to explain more about our

   fiduciary services at First Western Trust Bank.” Ex. 3, Apr. 26, 2017 Email.

          5.     In early 2018, FWTB provided the Flecks with a bridge loan to finance their

   purchase of a new residence when they were in the process of selling their existing home

   in Aspen. Ex. 4, Bantis Dep. at 86:17-87:9.

          6.     Later in 2018, the Flecks sold their Aspen home for approximately $19

   million. Ex. 1, A. Fleck Dep. at 37:9-11.

          7.     On February 9, 2018, Aaron Fleck and his daughter and son-in-law met with

   FWTB to discuss the possibility that FWTB would manage the investment of the net sale

   proceeds generated from the sale of the Flecks’ home. Ex. 5, Sawyer Decl. ¶ 5; Ex. 1, A.

   Fleck Dep. at 105:2-106:22; Ex. 6, Godfrey Dep. at 56:18-24.

          8.     During the February 9, 2018 meeting, Mr. Fleck explained that he was

   looking for an institution to invest his assets and provide yearly distributions to support

   his wife Barbara Fleck after his death, he conveyed his investment preferences, and

   FWTB discussed its investment approach including that FWTB focused on diversification

   and minimizing volatility. Ex. 5, Sawyer Decl. ¶ 6; Ex. 6, Godfrey Dep. at 58:18-59:13.

          9.     During this meeting, FWTB explained to the Flecks that Doug Barker (who

   was at the meeting) would be the Flecks’ portfolio manager, Mr. Barker would select

   investment strategies and funds approved by FWTB’s Investment Policy Committee, and

   Mr. Godfrey and Mr. Bantis would be local contacts for the Flecks in Aspen (not portfolio



                                               -3-
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 5 of 23




   managers). Ex. 5, Sawyer Decl. ¶ 6; Ex. 6, Godfrey Dep. at 40:22-24, 63:20-64:7, 65:6-

   16; Ex. 4, Bantis Dep. at 14:12-15, 25:16-26:9, 32:20-25.

          10.     Based on the Flecks’ input during the February 9, 2018 meeting, FWTB

   prepared an Investment Policy Statement (“IPS”) with a proposed investment approach

   and presented it to the Flecks. Ex. 7, IPS; Ex. 5, Sawyer Decl. ¶ 8.

          11.     At the time, Mr. Fleck was considering three or four investment

   management firms, not just FWTB. Ex. 1, A. Fleck Dep. at 106:11-17.

          12.     The Flecks ultimately hired FWTB because Mr. Fleck had known the Aspen

   branch manager Charlie Bantis “for at least 20 years … and he was very, very

   cooperative,” and because Mr. Bantis immediately approved the Flecks’ bridge loan which

   Mr. Fleck greatly appreciated. Ex. 1, A. Fleck. Dep. at 101:9-102:5.

   B.     In May 2018, Plaintiffs entered detailed contracts with FWTB governing how
          FWTB would invest their funds.

          13.     On May 8, 2018, the Flecks approved and executed the IPS, the Investment

   Services and Custody Agreement (“Investment Agreement”), and the Fee Schedule

   Agreement (“Fee Agreement”), thereby authorizing FWTB to invest $8 million of their

   funds in accordance with the IPS. Ex. 7, IPS; Ex. 8, Investment Agreement; Ex. 9, Fee

   Agreement; Ex. 1 A. Fleck. Dep. at 109:11-17, 132:12-23, 147:5-8.

          14.     The IPS is a “plan, developed jointly by First Western and [the Flecks], for

   the management of [the Flecks’] investment assets.” Ex. 7, IPS at 2; Am. Compl. ¶ 32.

          15.     The IPS sets forth the overall objectives of the account which include

   maintaining diversification of investment assets, achieving financial goals, and minimizing

   potential tax liabilities. Ex. 7, IPS at 3.


                                                 -4-
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 6 of 23




           16.   The IPS specifies the amount of assets FWTB would invest ($8 million), the

   investment time horizon (10+ years) and cash flow objective ($500,000 per year), the

   Flecks’ risk tolerance (stable growth and low level of income), the portfolio allocation

   (moderate), and the expected long-term return target (6.48%). Ex. 7, IPS at 2.

           17.   The IPS specifies the asset classes and allocation ranges per asset class

   that FWTB would use to invest the Flecks’ funds, which was as follows:




   Id. at 5.

           18.   The Flecks declined to list any “portfolio restrictions” in the section of the

   IPS that asked clients to list any particular restrictions. Ex. 7, IPS at 4.

           19.   The IPS explains that the Flecks would receive “custodial statements

   detailing your portfolio holdings” “on no less than a quarterly basis.” Ex. 7, IPS at 6.

           20.   The Investment Agreement similarly states: “During the term of this

   Agreement, FWTB will provide statements of account no less than quarterly.” Ex. 8,

   Investment Agreement § 5.

           21.   The Flecks opted on their account intake form to receive electronic account

   statements only, not paper statements. Ex. 10, New Account Form at 3-4.



                                                -5-
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 7 of 23




          22.    The IPS explains that the Flecks’ investment portfolio would be occasionally

   rebalanced “to meet the strategic asset allocation targets.” Ex. 7, IPS at 5.

          23.    The IPS states that “[a]ctual performance will vary” from projected returns,

   and “there is no guarantee that [your] return objective will be achieved in any single year

   or over longer time periods.” Ex. 7, IPS at 5. The IPS contains a chart showing the

   expected variance from the target return after one, three, five, ten, and twenty years, with

   the variance being higher in the short term and lower in the long term. Id. at 6.

          24.    The Investment Agreement granted FWTB “full and complete discretion and

   authority with respect to managing the investment of [the Flecks’] assets,” but also

   allowed the Flecks “to direct and to determine at any and all times the selection of any

   security for purchase and sale in their account.” Ex. 8, Investment Agreement § 3.

          25.    The Investment Agreement contains the governing “Standard of Care” for

   liability, which requires FWTB to manage the Flecks’ accounts in good faith pursuant to

   the parties’ contracts and to “give to the securities in its custody the same degree of care

   and protection which it gives to its own property.” Ex. 8, Investment Agreement §§ 8-9.

          26.    The Investment Agreement provides that “FWTB shall not be liable for any

   loss or depreciation (including, without limitation, any decrease in value of assets held in

   the account due to market activity) resulting from any action or inaction of FWTB taken in

   good faith pursuant to the terms of this Agreement or as the result of following a direction

   or instruction from Client.” Ex. 8, Investment Agreement § 8.

          27.    The Investment Agreement further provides that “FWTB nor its agents shall

   be liable for any act, omission, loss, depreciation, or error in judgment that may occur in



                                               -6-
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 8 of 23




   connection with FWTB’s handling of Client’s account, except for such that may result from

   FWTB’s gross negligence or willful misconduct.” Ex. 8, Investment Agreement § 9.

          28.    Mr. Fleck does not believe that he read any of the contracts—the IPS, the

   Investment Agreement, or the Fee Agreement—before signing them. Ex. 1, A. Fleck. Dep.

   at 116:5-117:1, 132:24-133:10, 147:9-12.

          29.    When asked “Had you read this Investment Policy Statement, would you

   have still signed it?” Mr. Fleck testified “Probably not.” Id. at 126:24-127:1.

   C.     Plaintiffs’ fraud allegations are refuted by the record evidence.

          30.    While Plaintiffs have never clearly defined their fraud claims, they appear to

   claim that Defendants misled them about whether: (1) their investments would be

   overseen by “professional money managers” and “analysts”; and (2) FWTB was a

   Registered Investment Advisor (“RIA”). See Am. Compl. ¶¶ 86, 88, 98-99. The evidence

   shows neither theory has merit.

          31.    Professional Money Managers or Analysts. Mr. Fleck believes he was told

   that FWTB has “analysts in Denver,” but he does not recall anyone telling him that FWTB

   employed “professional money managers.” Ex. 1, A. Fleck Dep. at 123:9-11, 164:17-22.

          32.    Mrs. Fleck does not recall having ever met with FWTB, Andy Godfrey, Doug

   Barker, or Charlie Bantis, and does not claim to have been misled by Defendants. Ex. 11,

   B. Fleck Dep. at 10:9-19, 11:4-9.1

          33.    When asked at his deposition, Mr. Fleck did not claim that FWTB does not


   1Mrs. Fleck, who has serious memory loss, did not approve of the lawsuit or review the
   complaint before it was filed, and defers to Mr. Fleck on the question of whether
   Defendants did anything wrong to her. Ex. 11, B. Fleck. Dep. at 9:2-10:8.

                                                -7-
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 9 of 23




   employ professional money managers. Ex. 1, A. Fleck Dep. at 167:6-8.

         34.    The Flecks’ investment account was managed by “professional money

   managers,” including portfolio manager Doug Barker who, at the time, had several

   decades of experience in wealth management, an MBA, and the credentials of Certified

   Financial Planner and Accredited Investment Fiduciary. Ex. 5, Sawyer Decl. ¶ 11.

         35.    FWTB also employed “analysts” and other investment professionals who

   selected the equities, investment strategies, and funds that were available to portfolio

   managers like Mr. Barker to select when creating client portfolios. Ex. 5, Sawyer Decl.

   ¶ 10. Those teams included approximately eight analysts and investment professionals:

   David Stern (Director of Investment Research), Sydney Young (Business Analyst),

   Brandon Teamer (Investment Research Analyst), Karen Post (Managing Director of

   Investments), John Sawyer (Chief Investment Officer (“CIO”)), Brandon Humphryes

   (Director of Fixed Income Strategy), Debbie Silversmith (CIO Emeritus), and Warren

   Olsen (FWTB’s former Chairman and former CIO). Id.

         36.    Registered Investment Advisor. A “registered investment adviser” or RIA is

   a defined statutory term under the Investment Advisers Act of 1940. Certain investment

   managers are required to register with the SEC and state securities regulators and then

   are subject to those agencies’ rules and regulations. See 15 U.S.C. § 80b-2(11).

         37.    Banks like FWTB are excluded from the definition of “investment adviser” in

   the Investment Advisers Act, and are exempt from its requirements. Id.; see also SEC v.

   Wall St. Transcript Corp., 422 F.2d 1371, 1382 (2d Cir. 1970) (“The term ‘investment

   adviser’ is so defined as specifically to exclude banks, bank holding-company



                                             -8-
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 10 of
                                     23




  affiliates…”) (quoting legislative history).

         38.    Mr. Fleck does not recall anyone at FWTB telling him that FWTB “was a

  registered investment advisor;” nor does he recall believing that FWTB was an RIA when

  he hired FWTB on behalf of the Trusts. Ex. 1, A. Fleck Dep. at 164:10-16, 165:8-12.

         39.    Mr. Fleck acknowledges that who is an RIA is publicly available, and that

  he never checked to see if FWTB was an RIA. Ex. 1, A. Fleck Dep. at 166:2-19.

         40.    While Plaintiffs claim that FWTB hardly met with them, that is not true. Mr.

  Fleck frequently met with FWTB, including on February 9, 2018, November 6, 2018,

  throughout December and January 2019, and on February 6, 2019, March 18, 2019, April

  12, 2019, and April 15, 2019. Ex. 13, Defs.’ Resp. to Pls.’ Interrogatory 10.

  D.     FWTB transferred all of the Flecks’ investment funds and securities to Citi
         Private Bank at Mr. Fleck’s direction.

         41.    On May 3, 2019, the Flecks requested that the FWTB transfer in kind all

  assets in the Trusts’ accounts to Citi Private Bank. Ex. 12, Citi Account Transfer Forms.

         42.    Plaintiffs’ claim that they never received $800,000 of the Flecks’ accounts,

  see Am. Compl. ¶ 40, is not true because FWTB transferred all assets in the Flecks’

  account to Citi Private Bank in May 2019, Ex. 5, Sawyer Decl. ¶ 12.

  E.     The Flecks approved of all fees charged by FWTB.

         43.    The contracts approved by the Flecks summarize the fees the Trusts would

  be charged. Ex. 8, Investment Agreement § 7; Ex. 9, Fee Agreement.

         44.    The Investment Agreement discloses that the Trusts “shall pay FWTB a fee

  for investment advisory services, custody and transaction services (‘Portfolio Fee’).” Ex.

  8, Investment Agreement § 7.


                                                 -9-
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 11 of
                                     23




         45.    The Fee Agreement, approved by the Flecks, provides that Annual

  Percentage Fee or Portfolio Fee will be charged according to the following table:




  Ex. 9, Fee Agreement.

         46.    The Fee Agreement also explains that FWTB “may direct client funds to be

  invested in shares or similar ownership interests of mutual funds, privately offered

  investment funds, managed accounts or other investment funds that are managed by an

  affiliate of FWTB. In such cases, the affiliate will charge an asset management fee within

  the investment fund or to the account in the case of a separate account. The asset

  management fee is separate from the Portfolio Fee charged directly by FWTB.” Id.

         47.    The Investment Agreement contains substantially similar language, and

  further explains: “In addition to the Portfolio Fee charged directly by FWTB, the client may

  also pay a direct asset management fee for separate account managers including

  managers affiliated with FWTB and an indirect asset management fee in each investment

  fund or mutual fund.” Ex. 8, Investment Agreement § 7.

         48.    The Investment Agreement also explains that the Flecks “may pay a

  commission to the executing broker, in the case of equity securities, which will be included


                                             - 10 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 12 of
                                     23




  in the total cost of the trade.” Id.

         49.     In total, FWTB charged the Flecks fees of $54,917.10, which included a

  $51,630.64 management fee (calculated based on assets under management), a

  $3,264.40 fee for use of FWTB’s Large Cap Core Portfolio, and a $22.66 foreign

  exchange fee in connection with a dividend paid by a foreign corporation. Ex. 5, Sawyer

  Decl. ¶ 9(a)-(c) & Exs. A-B.

         50.     In total, FWTB charged the Flecks a total of $2,790.68 in commissions,

  100% of which were paid to third-party brokers and none of which were kept by FWTB.

  Ex. 5, Sawyer Decl. ¶ 9(f)-(g) & Exs. C-D.

                                         LEGAL STANDARD

         Summary judgment must be granted if the evidence demonstrates “that there is no

  genuine dispute as to any material fact and that the movant is entitled to judgment as a

  matter of law.” Fed. R. Civ. P. 56(a). “The movant bears the initial burden of making a prima

  facie demonstration of the absence of a genuine issue of material fact and entitlement to

  judgment as a matter of law.” Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670-71 (10th

  Cir. 1998). If the movant makes that initial showing, “the burden shifts to the nonmovant

  to . . . ‘set forth specific facts’ that would be admissible in evidence in the event of trial from

  which a rational trier of fact could find for the nonmovant.” Id.

                                            ARGUMENT

  I.     THE UNDISPUTED EVIDENCE SHOWS PLAINTFFS WERE NOT
         FRAUDULENTLY INDUCED INTO PROVIDING FUNDS TO FWTB TO INVEST.

         To overcome a motion for summary judgment on a fraudulent misrepresentation

  claim, Plaintiffs must offer evidence that would allow a reasonable jury to conclude that


                                                - 11 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 13 of
                                     23




  (1) Defendants made a fraudulent misrepresentation of material fact; (2) Plaintiffs relied on

  this misrepresentation; (3) Plaintiffs had a right to rely on, or were justified in relying on, the

  misrepresentation; and (4) Plaintiffs’ reliance resulted in damages. See Rocky Mtn.

  Exploration, Inc. v. Davis Graham & Stubbs LLP, 2018 CO 54 ¶ 53, 420 P.3d 223, 234.

  The record makes clear that both of Plaintiffs’ fraud theories are legally deficient.

         First, Plaintiffs cannot establish a triable issue of fact on their claim that Defendants

  misrepresented whether FWTB employed “professional money managers” and “analysts”

  because (a) there is no evidence that Defendants made such representations, (b) these

  alleged representations are indisputably true, and (c) there is no evidence that Plaintiffs

  relied upon on these alleged representations.

         As an initial matter, Plaintiffs have adduced no evidence that any Defendant ever

  said that FWTB employed “professional money managers” or “analysts.” Mrs. Fleck has no

  recollection of ever communicating with any Defendant, see Statement of Undisputed Facts

  (“SUF”) ¶ 32, and Mr. Fleck does not recall being told by any Defendant that FWTB has

  “professional money managers,” SUF ¶ 31. While Mr. Fleck claims he was told FWTB had

  “analysts,” id., Plaintiffs have never identified the date of this alleged communication.

         Regardless, it is indisputably true that FWTB did employ “professional money

  managers” and “analysts.” The Flecks’ portfolio was managed by Doug Barker who has

  two decades of experience in wealth management, an MBA, and credentials as a Certified

  Financial Planner and Accredited Investment Fiduciary. SUF ¶ 34. FWTB also had

  investment teams who selected the equities, investment strategies, and funds that were




                                                - 12 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 14 of
                                     23




  available to portfolio managers like Mr. Barker, which included approximately eight

  investment professionals and/or analysts. SUF ¶ 35.

         Additionally, Plaintiffs cannot show reliance. Mr. Fleck testified that he made his

  decision to hire FWTB over competing money managers because he knew Charlie Bantis

  and appreciated that Mr. Bantis was so cooperative and made him the bridge loan. SUF

  ¶¶ 11-12. There is no evidence that Mr. Fleck’s decision was based on the fact that FWTB

  employed “professional money managers” or “analysts,” and, in fact, such an assertion is

  implausible given that neither Fleck could recall being told that FWTB had “professional

  money managers,” the alleged fraud asserted in the Amended Complaint. SUF ¶¶ 30-32.

         Plaintiffs also cannot establish a triable issue of fact on their second fraud theory,

  i.e., that Plaintiffs were misled about FWTB being an RIA, because there is no evidence

  that this alleged misrepresentation occurred or that Plaintiffs relied upon it.

         The only evidence is that Defendants never told the Flecks that FWTB was an RIA.

  Mrs. Fleck has no recollection of communicating with Defendants, SUF ¶ 32, and Mr. Fleck

  testified that he does not recall Defendants ever stating that FWTB was an RIA, SUF ¶ 38.

  Plaintiffs cannot point to any written communication where FWTB advertised that it was an

  RIA. The relevant communications simply state that FWTB has “fiduciary capability” and

  offers “fiduciary services,” both of which are true. SUF ¶¶ 3-4.

         The evidence also makes clear that Plaintiffs again cannot establish reliance. Mr.

  Fleck did not believe FWTB was an RIA when he hired FWTB, SUF ¶ 38, and he hired

  FWTB because of his relationship with Mr. Bantis, not his view of FWTB’s regulatory status,

  SUF ¶ 12. Moreover, Mr. Fleck acknowledged that the list of RIAs is publicly available and



                                               - 13 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 15 of
                                     23




  he did not look up whether FWTB was an RIA before investing. SUF ¶ 39;

  https://adviserinfo.sec.gov/ (allowing public to search for RIAs). The public availability of

  who is an RIA precludes a showing of justifiable reliance. See Rocky Mtn. Exploration, 2018

  CO 54, ¶ 53 (“A party’s reliance on a purported misrepresentation is not justified when the

  party is … on inquiry notice of the falsity of the representation.”); Colorado Coffee Bean,

  LLC v. Peaberry Coffee Inc., 251 P.3d 9, 18 (Colo. App. 2010) (affirming finding that when

  alleged misrepresented information “was publically available … justifiable reliance cannot

  be proven because ‘reasonable due diligence would reveal accurate information’”).

  II.    THE UNDISPUTED EVIDENCE SHOWS NO FRAUDULENT CONCEALMENT
         OCCURRED.

         To overcome a motion for summary judgment against a fraudulent concealment

  claim, Plaintiffs must offer evidence that would allow a reasonable jury to conclude that:

  (1) the concealment of a material existing fact that in equity and good conscience the

  defendant should have disclosed; (2) knowledge on the defendant’s part that such a fact

  was being concealed; (3) ignorance of that fact on the plaintiff’s part; (4) the intention that

  the concealment be acted upon; and (5) action on the concealment resulting in damages.

  Rocky Mtn. Exploration, 2018 CO ¶ 56.

         Plaintiffs’ fraudulent concealment claim is that Defendants should have disclosed

  (1) their approach to the management of Plaintiffs’ investment accounts, and (2) their

  credentials. Am. Compl. ¶ 98. Plaintiffs cannot establish a triable issue of fact for their

  fraudulent concealment theories because (a) Defendants disclosed their investment

  approach and credentials, and (b) Plaintiffs cannot identify any additional information that

  Defendants had a duty to disclose.


                                              - 14 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 16 of
                                     23




         The undisputed evidence shows that Plaintiffs were not ignorant of the investment

  approach FWTB would use since FWTB disclosed its investment approach. FWTB walked

  Mr. Fleck and his daughter-in-law and son-in-law through its investment approach at a

  February 9, 2018 meeting. SUF ¶¶ 7-8. The IPS also discloses in detail FWTB’s investment

  approach, including the time horizon (10+ years), the risk tolerance (moderate, stable

  growth, and low level of income), the expected long-term return target (6.48%), and the

  specific ranges of asset allocation among small, mid, and large cap equities, emerging

  markets, bonds, fixed income, alternatives, and cash. SUF ¶¶ 14-17. Plaintiffs have not and

  cannot point to any undisclosed aspect of FWTB’s “investment approach” that Defendants

  had a duty to disclose.2 Thus, Plaintiffs cannot establish their ignorance of any material

  aspect of FWTB’s investment approach.

         Plaintiffs’ failure to read the IPS confirms this. Aaron Fleck admitted he did not read

  the IPS, and claims he likely would not have signed it if he had read it. SUF ¶¶ 28-29.

  Courts reject fraud claims as a matter of law where, as here, the parties claiming fraud did

  not review the alleged fraudulent agreement before approving it. See Flight Concepts Ltd.

  P’ship v. Boeing Co., 38 F.3d 1152, 1157 (10th Cir. 1994) (affirming summary judgment

  grant on fraud claims because “it was [the plaintiff’s] duty to read and understand the

  provisions of the” contract and “a party cannot void a contract by claiming to be ignorant of


  2Nor can Plaintiffs point to any reason why the individual Defendants—Charlie Bantis
  and Charlie Godfrey who are not fiduciaries and were not responsible for managing the
  Flecks’ investment account, SUF ¶ 9—owed any duty to disclose at all. This is an
  additional ground for dismissal of all claims against the individual Defendants. See Rocky
  Mtn. Exploration, 2018 CO ¶ 56 (“To succeed on a claim for fraudulent concealment or
  nondisclosure, a plaintiff must thus show that the defendant had a duty to disclose the
  material information.”).

                                              - 15 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 17 of
                                     23




  its contents.”); Collins v. Trans Union, LLC, No. 14-CV-00742-RBJ-NYW, 2015 WL

  12550893, at *7 (D. Colo. June 10, 2015) (granting summary judgment based on same

  rationale), aff’d, 668 F. App’x 345 (10th Cir. 2016).

         Plaintiffs’ second fraudulent concealment theory similarly fails. Defendants did

  disclose that Plaintiffs’ portfolio manager would be Doug Barker, and that Mr. Barker would

  select from strategies and funds approved by a team of professionals and analysts that

  included FWTB’s Investment Policy Committee. SUF ¶¶ 9, 34-35. And, contrary to the

  Amended Complaint’s asserted basis for the fraudulent concealment claim, Am. Compl.

  ¶ 103, Plaintiffs did not believe that FWTB was an RIA so Defendants had no obligation to

  clarify FWTB’s credentials or regulatory status. SUF ¶¶ 36-39. Plaintiffs have not identified

  any relevant “credentials” about which they were ignorant, for which Defendants had a duty

  to disclose, or which affected their investment decision. Overall, there is no triable issue of

  fact on any fraudulent concealment claim. The Court should thus dismiss the claim.

  III.   THE UNDISPUTED EVIDENCE SHOWS THE ECONOMIC LOSS RULE BARS
         THE FIDCUIARY DUTY CLAIMS BECAUSE THE PARTIES’ THREE
         CONTRACTS GOVERN ALL TRIABLE ISSUES AND SUBSUME ANY
         APPLICABLE COMMON LAW DUTIES.

         Under Colorado’s economic loss rule, “a party suffering only economic loss from the

  breach of an express or implied contractual duty may not assert a tort claim for such breach

  absent an independent duty of care under tort law.” Mid-Century Ins. Co. v. HIVE Constr.,

  Inc., -- P.3d --, 2023 COA 25, ¶ 26. For a duty to be independent, it must (1) “arise from a

  source other than the relevant contract,” and (2) “not be a duty also imposed by the contract.”

  Haynes Trane Serv. Agency, Inc. v. Am. Standard, Inc., 573 F.3d 947, 962 (10th Cir. 2009)

  (citation omitted). The economic loss rule is intended “to maintain a distinction between


                                              - 16 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 18 of
                                     23




  contract and tort law” to foster “predictability on commercial transactions,” and to encourage

  the parties to “confidently allocate risks and costs ... without fear that unanticipated liability

  may arise in the future.” Mid-Century Ins., 2023 COA 25 ¶ 26 (quoting Bermel v. BlueRadios,

  Inc., 440 P.3d 1150, 2019 CO 31).

         On the motion to dismiss, the Court found dismissal under the economic loss rule

  was “premature without further factual development and discovery.” ECF 50 at 10. The

  Court noted that the standard of care in the Investment Agreement is “sparse,” and stated

  that “[i]t cannot determine, based on the record before it, whether this standard of care

  subsumes FWTB’s alleged fiduciary duties.” Id. at 13. With discovery now complete, it is

  clear that there is no triable issue of fact concerning any breach of fiduciary duty because

  all alleged breaches of duties are governed by the detailed IPS, the Investment Agreement,

  and the Fee Agreement. See generally SUF ¶¶ 13-29.

         Plaintiffs’ claim that FWTB breaches its fiduciary duty in three ways: (1) failing to

  follow a “cohesive investment strategy,” (2) charging undisclosed fees, and (3) failing to

  “harvest tax losses” by not following Mr. Fleck’s direction to sell all positions with paper (or

  unrealized) losses at the end of 2018. Am. Compl. ¶ 114. The duties relating to each of

  these issues is contained in the parties’ contracts, and Plaintiffs are unable to identify any

  additional common law duties.

         First, the investment strategy to be used by FWTB is set forth in detail in the IPS.

  The IPS specifies, among other things: the Flecks’ goals, investment time horizon, and

  target return; the asset classes and allocation ranges per asset class to be used by FWTB;

  the frequency of when custodial statements would be provided to the Flecks; and how the



                                                - 17 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 19 of
                                     23




  account will be rebalanced. SUF ¶¶ 13-23. Any trial in this case will address if FWTB

  invested in accordance with the IPS and if FWTB acted with gross negligence or wilful

  misconduct, which is the standard for liability in the Investment Agreement. SUF ¶¶ 24-27.

  Any common law duties of care and loyalty are subsumed by the more specific contractual

  provisions agreed upon by the parties, which precludes a separate tort claim. See, e.g.,

  Mid-Century Ins., 2023 COA 25 ¶ 43 (affirming dismissal of negligence claim because the

  contract required the defendants to perform work in accordance with the contract’s detailed

  specifications); Micale v. Bank One N.A. (Chicago), 382 F. Supp. 2d 1207, 1221-22 (D.

  Colo. 2005) (dismissing fiduciary duty claim because even if the banks had common law

  fiduciary duties due to their role as financial advisors, those duties were “subsumed” by the

  contractual duties in the Investment Management Agreement).

         Second, the fees to be charged are set forth in detail in the Fee Schedule and

  Investment Agreement. SUF ¶¶ 44-50. All fees charged were disclosed, as discussed in

  Argument IV below. If the Court, however, finds there is a triable issue of fact on the

  appropriateness of the fees charged, the triable issue would be a question of FWTB’s

  compliance with the parties’ contracts. Any common law duty (e.g., to be loyal and act in

  good faith) is subsumed by the parties’ more detailed contracts and will not answer the key

  question of whether the fees charged were disclosed and approved by the Flecks.

         Third, the issue of harvesting tax losses is governed by the IPS. The IPS specifies

  that FWTB would invest with several objectives, including achieving financial goals and

  minimizing potential tax liabilities. SUF ¶ 15. Moreover, the Flecks granted FWTB full

  discretion to make all investment decisions, but retained the right to direct FWTB to make



                                             - 18 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 20 of
                                     23




  specified purchases and sales of securities. SUF ¶ 24. Therefore, if the trier of fact

  concludes FWTB ignored an instruction from Mr. Fleck to sell securities for tax purposes,

  as Plaintiffs allege, the implications of that action, including if FWTB incurs liability as a

  result of it, will have to be decided based on the parties’ contracts.3

         The Court is required to honor the detailed risk allocation set by the parties’

  agreements, which includes a limitation of liability absent gross negligence or wilful

  misconduct. See SUF ¶¶ 25-27; see also Mid-Century Ins., 2023 COA 25 ¶ 38 (“parties to

  a contract should confidently allocate risks in the contract” and ”such allocations should be

  respected once made”). As such, any triable issue of fact on an alleged breach of duty by

  FWTB must be determined by evaluating FWTB’s compliance with the parties’ contracts,

  not under an independent fiduciary duty that may exist at common law.

  IV.    THE UNDISPUTED EVIDENCE SHOWS THAT THE FLECKS APPROVED AND
         AGREED UPFRONT TO ALL FEES CHARGED TO THEM.

         It is well-established that a court “must enforce an unambiguous contract in

  accordance with the plain and ordinary meaning of its terms.” See USI Properties E., Inc.

  v. Simpson, 938 P.2d 168, 173 (Colo. 1997).

         Here, all fees charged to the Flecks were expressly authorized by the

  unambiguous provisions of the Investment Agreement and Fee Agreement. There is no

  dispute that the Flecks were charged total fees of $54,917.10 (which included a

  management fee, a fee for use of FWTB’s Large Cap Core Portfolio, and a small foreign


  3 To the extent Plaintiffs are claiming that FWTB breached its fiduciary duty by not
  sufficiently sending the Flecks’ statements, that issue also is covered by the parties’
  contracts, which specified the method of delivery for statements (electronic) and the
  frequency of statements (quarterly). See SUF ¶¶ 19-21.


                                               - 19 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 21 of
                                     23




  exchange fee), and $2,790.68 in commissions (100% of which was paid to third-party

  brokers and none of which was kept by FWTB). SUF ¶¶ 49-50. Each of the fees and

  commissions charged was specifically authorized by the Investment Agreement and Fee

  Agreement. See SUF ¶ 44, (Investment Agreement authorized portfolio fee); SUF ¶ 45

  (Fee Agreement authorized portfolio fee and explained how it would be calculated); SUF

  ¶ 46 (Fee Agreement authorized FWTB to charge fees for use of “investment funds that

  are managed by an affiliate of FWTB”); SUF ¶ 47 (Investment Agreement authorized

  FWTB to charge “asset management fee for separate account managers including

  managers affiliated with FWTB”); SUF ¶ 48 (Investment Agreements authorized

  “commissions to the executing broker”).

         Because all fees charged by FWTB were expressly permitted by the Investment

  Agreement and the Fee Agreement, Defendants are entitled to summary judgment

  regarding all claims relating to fees charged by FWTB. See Relative Value Stud., Inc. v.

  McGraw-Hill Cos., 981 P.2d 687, 690 (Colo. App. 1999) (affirming grant of summary

  judgment because contract was unambiguous).

                                       CONCLUSION

         For these reasons, the Court should grant summary judgment, and dismiss with

  prejudice Plaintiffs’ claims for fraudulent inducement, fraudulent concealment, breach of

  fiduciary duty, and breach of contract for charging undisclosed fees.




                                             - 20 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 22 of
                                     23




        Dated: May 15, 2023

                                     /s/ Adam B. Stern
                                     BRYAN CAVE LEIGHTON PAISNER LLP
                                     Timothy R. Beyer
                                     Adam B. Stern
                                     1700 Lincoln Street, Suite 4100
                                     Denver, CO 80203
                                     Telephone: (303) 861-7000
                                     tim.beyer@bclplaw.com
                                     adam.stern@bclplaw.com

                                     Attorneys for Defendants First Western Bank,
                                     Charles Bantis, and Andrew Godfrey




                                     - 21 -
Case No. 1:21-cv-01073-CMA-NRN Document 86 filed 05/15/23 USDC Colorado pg 23 of
                                     23




                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on this 15th day of May, 2023 a true and
  correct copy of DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT was filed and
  served using the CM/ECF system, on the following:

  PODOLL & PODOLL, P.C.
  Richard B. Podoll
  rich@podoll.net
  Robert Kitsmiller
  bob@podoll.net
  Jacqueline E. Hill
  jacqui@podoll.net

  Attorney for Plaintiffs


                                          /s/ Adam B. Stern
                                          Adam B. Stern




                                           - 22 -
